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            EXHIBIT A-1
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                                                                                                        FILED
                                                                                           TARRANT COUNTY
                                                                                           7/12/2022 11:15 AM
Jeff Benton                                                                               THOMAS A. WILDER
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                                                    153-334574-22
                                       CAUSE NO. __________________

FELICE OWENS,                                      §                  IN THE DISTRICT COURT
          Plaintiff,                               §
                                                   §
v.                                                 §                  _____ JUDICIAL DISTRICT
                                                   §
COSTCO WHOLESALE CORPORATION                       §
          Defendant.                               §                  TARRANT COUNTY, TEXAS

                                      PLAINTIFF’S ORIGINAL PETITION

        NOW COMES, Felice Owens, Plaintiff, complaining of and against Defendant Costco
Wholesale Corporation (hereinafter “Costco”), and for cause of action would respectfully show
the following:

                                 I. DISCOVERY CONTROL PLAN LEVEL

       1.01 Pursuant to Rule 190.1 of the Texas Rules of Civil Procedure, this case will be
governed according to Discovery Control Plan Level 2. Plaintiff seeks damages in excess of
$100,000, but less than $200,000.

                               II. PARTIES, JURISDICTION, AND VENUE

          2.01      Plaintiff is an individual residing in Texas.

       2.02 Defendant Costco Wholesale Corporation is a Corporation and may be served with
process upon its registered agent, CT Corporation System, 1999 Bryan St., Ste. 900 Dallas, TX
75201 or wherever he may be found.

       2.03 This Court has jurisdiction and venue over the parties to and subject matter of these
claims because the amount in controversy is within the jurisdictional limits of this Court and all or
a substantial part of the events or omissions giving rise to the claims herein occurred in Tarrant
County, Texas.


                                        III. STATEMENT OF FACTS

       3.01     At all material times, the Costco Defendants, individually and/or collectively
were the owner(s) and/or operator(s) of the Premises located at 2601 E. State highway 114,
Southlake, TX 76092. Costco was in control of the Premises on which Plaintiff’s injuries occurred.


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At the time the injuries occurred, Costco had the exclusive right to control the property on which
Plaintiff was injured.

       3.02      Plaintiff was an invitee at the time the injury occurred. Plaintiff went on the
Premises for the mutual benefit of herself and Costco, and at the invitation of Costco.

        3.03       At the time of the events in question, the Costco owed Plaintiff a duty to exercise
ordinary care to keep the premises in a reasonably safe condition, inspect the premises to discover
latent and patent defects, and to make safe any defects or give adequate warning of any dangers.

        3.04       On or about October 25, 2020, Plaintiff entered the premises, and slipped near
the cart return and suffered severe injuries. There were no warning signs in the area.

       3.05         Costco Defendants were responsible for maintaining a safe Premises.

       3.06         As a result of the fall, Plaintiff suffered painful and substantial personal injuries.

                    IV. CAUSE OF ACTION FOR PREMISES LIABILITY

       4.01 At all material times, Costco themselves, or acting through their administrative
personnel, agents and/or employees, created an unreasonable risk of harm on the premises of which
they knew or should have known, and failed to use reasonable care to correct or warn Plaintiff of
the condition. As a proximate result of the negligence of Costco, Plaintiff suffered the serious
personal injuries complained of herein.

       4.02 Because Plaintiff was an invitee at the time of injury, Costco owed her a duty to
exercise ordinary care to keep the premises in a reasonably safe condition, inspect the premises to
discover latent defects, and to make safe any defects or give an adequate warning of any dangers.

        4.03 Costco’s conduct, and that of any agents, servants, and/or employees, acting within
the scope of their employment, constituted a breach of the duty of ordinary care owed to Plaintiff.
Defendants knew or should have known that the condition on the premises created an unreasonable
risk of harm to invitees. Defendants failed to exercise ordinary care to reduce or eliminate this
risk, or warn invitees regarding unreasonable risk of harm to invitees. Specifically, Costco
breached their duties in one or more of the following ways:

               a.        Failing to inspect the premises on a regular basis;

               b.        Failing to correct or warn of the dangerous conditions created by the
                         concealed raised step, complained of herein;

               c.        Failing to place signs warning invitees;

               d.        Failing to provide adequate instructions to invitees to avoid injury;

               e.        Failing to exercise reasonable care in establishing and maintaining a
                         premises free of recognized hazards;


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               f.       Failing to provide a safe walking surface;

               g.      Failing to instruct or train its agents, servants, and employees to
                       maintain a hazard free environment;

               h.      Failing to supervise its agents, servants, and employees to ensure
                       the safety of invitees.

       4.04   Each of these acts and omissions, whether taken singularly or in any combination,
was a proximate cause of Plaintiff's injuries and damages.

                                         V. DAMAGES

        5.01 As a proximate result of Defendants’ negligence, Plaintiff suffered severe physical
injuries. As a result of her injuries, Plaintiff has suffered the following damages:
                       a.      Physical pain in the past and future;
                       b.      Mental anguish in the past and future;
                       c.      Lost earnings in the past and future;
                       d.      Damage to earning capacity in the past and future;
                       e.      Physical impairment in the past and future; and
                       f.      Medical expenses in the past and future.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants be cited to
appear and answer, and that on final trial she has judgment against Defendants in a sum in excess
of the minimum jurisdictional limits of the Court; prejudgment and post judgment interest as
provided by law; costs of suit; and such other and further relief to which Plaintiff may show herself
to be justly entitled.

                                              Respectfully submitted,




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                                THE BENTON LAW FIRM

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Envelope ID: 66228790
Status as of 7/12/2022 12:28 PM CST

Case Contacts

Name          BarNumber   Email                          TimestampSubmitted   Status

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Leon Kassab               leon@jeffbenton.com            7/12/2022 11:15:50 AM SENT
